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                                                                           FILED IN CHAMBERS
                                                                            i3 .S .D .C . Atlanta



                                                                            NOV 15 2010
                                                                     JA,             ATfEN , Clerk
                      UNITED STATES DISTRICT COURT By
                FOR THE NORTHERN DISTRICT OF GEORGIA Deputy p"ty Clerk
                          ATLANTA DIVISION

IN RE BEAZER HOMES USA, INC . } C IVIL ACTION NO .
ERISA LITIGATION             } 1 :07-CV-04952-RWS
                             }

                       ORDER AND FINAL JUDGMENT

      This Action involves claims for alleged violations of the Employee

Retirement Income Security Act of 1974, as amended, 29 U .S .C. §§ 1001, et seq.

("ERISA"), with respect to the Beazer Homes USA, Inc . 401(k) Plan (the "Plan")

The terms of the Settlement are set out in the Stipulation and Agreement of

Settlement (the "Stipulation") fully executed on July 19, 2010, by counsel on

behalf of the Named Plaintiffs and Defendants .'

      This Action came before the Court on November 15, 2010, for a hearing to

determine the fairness of the Settlement and thee subject of this Court's Order

Granting Preliminary Approval of Class Action Settlement, Preliminarily

Certifying a Class for Settlement Purposes, Approving Form and Manner of Class

Notice, and Setting Date for Hearing on Final Approval of Settlement {Doc .




  Except as otherwise defined herein, all capitalized terms used in this Order and
Final Judgment shall have the same meanings as ascribed to them in the Stipulation
(Doc. No. 79-3) .
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No . 82) . The Court having considered all matters presented to it at the hearing and

in writing, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

              1.      Jurisdictio n : The Court has jurisdiction over the subject matter

of the Action and over all parties to the Action, including all members of the

Settlement Cl ass .

              2. Cl ass Findings : Solely for the purposes of the Settlement, the

Court finds that the requirements of the Federal Rules of Civil Procedure, the

United States Constitution, the Rules of the Court, and any other applicable law

have been met as to the Settlement Class defined below . Specifically, the Court

finds as follows :

              (a) Solely for the purposes of the Settlement, the Court finds that,

as required by Federal Rule of Civil Procedure 23(a){1}, the Settlement Class is

ascertainable from records kept with respect to the Plan and from other objective

criteria, and the members of the Settlement Class are so numerous that their joinder

before the Court would be impracticable .

              (b) Solely for the purposes of the Settlement, the Court finds that,

as required by Federal Rule of Civil Procedure 23(a)(2), there are one or more

questions of fact and/or law common to the Settlement Class .




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               (c) Solely for the purposes of the Settlement, the Court finds that,

as required by Federal Rule of Civil Procedure 23(a)(3), the claims of the Named

Plaintiffs are typical of the claims of the Settlement Class, in that the claims of the

Named Plaintiffs arise from the same alleged course of conduct that gives rise to

the claims of the members of the Settlement Class, and the claims are based on the

same legal theory . In the present case, the Named Plaintiffs allege that they were

Plan participants during the Class Period with Plan accounts that included

investments in the Beazer Homes USA, Inc . Company Stock Fund (the "Beazer

Stock Fund"), that the Plan's fiduciaries treated them and all other Plan

participants alike, and that Plan-wide relief is necessary and appropriate under

ERIS A .

               (d)   Solely for the purposes of the Settlement, the Court finds that,

as required by Federal Rule of Civil Procedure 23(a)(4), the Named Plaintiffs have

and will fairly and adequately protect the interests of the Settlement Class, in that :

(i) the interests of the Named Plaintiffs and the nature of their alleged claims are

consistent with those of the members of the Settlement Class, (ii) there appear to

be no conflicts between or among the Named Plaintiffs and the Settlement Class,

and (iii) the Named Plaintiffs and the members of the Settlement Class are




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represented by qualified, reputable counsel who are experienced in preparing and

prosecuting large, complicated ERISA class actions

             (e) Solely for the purposes of the Settlement, the Court finds that,

as required by Federal Rule of Civil Procedure 23(b)(1), the prosecution of

separate actions by individual members of the Settlement Class would create a risk

of: (i) inconsistent or varying adjudications as to individual Settlement Class

members that would establish incompatible standards of conduct for the parties

opposing the claims asserted in this Action or (ii) adjudications as to individual

Settlement Class members that would, as a practical matter, be dispositive of the

interests of the other members not parties to the adjudications, or substantially

impair or impede the ability of such persons to protect their interests .

             (f) The Court has also considered each of the elements required by

Federal Rule of Civil Procedure 23(g) to ensure that Class Counsel have and will

fairly and adequately represent the interests of the Settlement Class . Class Counsel

have done the work necessary to identify or investigate potential claims in the

Action, to investigate the allegations made in the Consolidated Complaint,

including interviewing witnesses, reviewing publicly available information,

reviewing documents and materials uncovered in their investigation, consulting

with experts, and representing the interests of the Settlement Class . Class Counsel



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have substantial experience in handling class actions and claims of the type

asserted in this Action . Class Counsel have also demonstrated extensive

knowledge of the applicable law . The Court concludes that Class Counsel have

fairly and adequately represented the interests of the Settlement Class .

             (g)    The members of the Settlement Class have received proper and

adequate notice of the Stipulation, the Fairness Hearing, Class Counsel's

application for attorneys' fees and expenses and for Case Contribution Awards to

the Named Plaintiffs, and the Plan of Allocation, such notice having been given in

accordance with the Order Granting Preliminary Approval of Class Action

Settlement, Preliminarily Certifying a Class for Settlement Purposes, Approving

Form and Manner of Class Notice, and Setting Date for Hearing on Final Approval

of Settlement (Doe . No . 82) . Such notice included individual notice to all

members of the Settlement Class who could be identified through reasonable

efforts ; provided valid, due, and sufficient notice of these proceedings and of the

matters set forth therein ; and included information regarding the procedure for

filing and serving objections . Such notice fully satisfied the requirements of

Federal Rule of Civil Procedure 23 and the requirements of due process .

             3.     Certification of Settlement Class : Solely for the pu rposes of

the Settlement, the Court finally certifies this Action as a class action under



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Federal Rules of Civil Procedure 23(a) and 23(b){1} . The Settlement Class is

defined as :

       All persons who were participants in or beneficiaries of the Plan at
       any time between July 28, 2005 and May 12, 2008, and whose
       account(s) included investments in the Beazer Stock Fund . Excluded
       from the Settlement Class are Defendants, any entity in which
       Defendants have or had a controlling interest, or which is or was a
       parent or subsidiary of or is or was controlled by Beazer Homes USA,
       Inc., and the current and former officers, directors, affiliates, legal
       representatives, heirs, predecessors, and assigns of Defendants .

       Pursuant to Federal Rule of Civil Procedure 23(g), the Court appoints

Patrick Denning and Lorene De Stefano ("Plaintiffs" or the "Named Plaintiffs") as

Settlement Class representatives and Keller Rohrback L .L.P . and Barroway Topaz

Kessler Meltzer & Check, LLP, as Class Counsel for the Settlement Class .

       Any certification of a Settlement Class pursuant to the terms of the

Stipulation shall not constitute and does not constitute, and shall not be construed

or used as an admission, concession, or declaration by or against Defendants that

(except for the purposes of the Settlement) this Action or any other action is

appropriate for class treatment under Federal Rule of Civil Procedure 23, or any

similar federal or state class action statute or rule, for litigation purposes .




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             4. S ettlement Approval: Pursuant to Federal Rule of Civil

Procedure 23(e), the Court hereby approves and confirms the Settlement as a fair,

reasonable, and adequate settlement and compromise of the Action .

             (a) No objections to the Settlement were filed .

             (b) The Court hereby approves the Stipulation and orders that the

Stipulation shall be consummated and implemented in accordance with its terms

and conditions .

             (c) In concluding that the Settlement embodied in the Stipulation is

fair, reasonable, and adequate, the Court specifically finds as follows :

                    (i) The Settlement was negotiated vigorously and at arm's-

length by counsel for Defendants, on the one hand, and Class Counsel on behalf of

the Named Plaintiffs and the Settlement Class, on the other .

                    (ii) This Action settled after the Court had issued an order

granting in part and denying in part Defendants' Motion to Dismiss the

Consolidated Complaint . The Settlement was also reached following arm's-length

negotiations among counsel with the assistance of an experienced mediator, who

was thoroughly familiar with this litigation . Named Plaintiffs and Defendants had

sufficient information to evaluate the settlement value of the Action .




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                    (iii) If the Settlement had not been achieved, the parties faced

the expense, risk, and uncertainty of extended litigation .

                    (iv) The Settlement Amount ($5,500,000) is fair, reasonable,

adequate, and within the range of settlement values obtained in similar cases .

                    (v) At all times, the Named Plaintiffs have acted

independently of Defendants and in the interest of the Settlement Class .

             5.     Approval of the Plan of Allocation : The Plan of Allocation is

hereby approved as fair and reasonable . The Court directs Class Counsel, the

Claims Administrator, and the designated Financial Institution to administer and

implement the Plan of Allocation in accordance with its terms and provisions .

             6.     Dismissal : The Action is hereby dismissed with prejudice, each

party to bear his, her, or its own costs, except as expressly provided in the

Stipulation and herein .

             7.     Releases and Injunction s : The Court hereby approves the

Releases and injunctive relief set forth in the Stipulation and orders as follows :

             (a) Plaintiffs, members of the Settlement Class, and the Plan (as

authorized by the Independent Fiduciary) have released and discharged, and are

hereby permanently barred and enjoined from asserting, commencing, prosecuting,

or continuing, either directly, individually, representatively, derivatively, or in any



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other capacity, any and all claims of any nature whatsoever (including claims for

any and all losses, damages, unjust enrichment, attorneys' fees, disgorgement of

fees, litigation costs, injunction, declaration, contribution, indemnification, or any

other type of legal or equitable relief) for losses suffered by the Plan, Plan

participants, or Plan beneficiaries ("Released Claims") :

                   (i) against all Defendants and the current or former officers,

directors, employees, insurers, reinsurers, attorneys, affiliates, subsidiaries,

successors, assigns, committees, managers, fiduciaries, or agents of any Defendant,

including, without limitation, Beazer Homes USA, Inc . and any fiduciary of the

Plan ("Releasees"), whether accrued or not, whether already acquired or acquired

in the future, whether known, unknown, or unsuspected, in law or equity, as well

as any claim or right obtained by assignment, brought by way of demand,

complaint, cross-claim, counterclaim, third-party claim or otherwise, arising out of

any or all of the acts, omissions, facts, matters, transactions, or occurrences that

are, were, or could have been alleged, asserted, or set forth in the Consolidated

Complaint or would be barred by principles of res judicata if the claims asserted in

the Consolidated Complaint had been fully litigated and resulted in a final

judgment in Defendants' favor, including but not limited to claims that Defendants

and any fiduciaries of the Plan breached ERISA fiduciary duties in connection with



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{ 1 }the offering the Beazer Stock Fund as an investment option in the Plan, (2) the

acquisition and holding of Beazer Homes stock by the Plan or Plan participants,

(3) the appointment and/or monitoring of the Plan's fiduciaries, or (4) the provision

of or failure to provide information to the Plan's fiduciaries, participants, and

beneficiaries regarding Beater Homes or Beater Homes stock ;

                      (ii) against any applicable fiduciary liability insurance

policies with respect to coverage for the Released Claims ;

                      (iii) against Defendants with respect to any claim against

them arising from the preparation or structuring of the Plan of Allocation or the

calculations performed by the Claims Administrator pursuant to the Plan of

Allocation ; and

                      (iv) against Defendants with respect to any claim against

them arising from the distribution of the Net Proceeds to the members of the

Settlement Class, if such distribution is performed by a third-party entity retained

by the Plan .

                (b)   Effective upon Complete Settlement Approval, Defendants

shall absolutely and unconditionally release and forever discharge the Named

Plaintiffs, the Settlement Class, Class Counsel, and other counsel who represent

members of the Settlement Class from any and all claims relating to the institution



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or prosecution of this Action, as well as any and all claims for contribution,

indemnification, or any other claims relating to payment of the Settlement Amount

by Defendants .

              (c) Scope of Releases

                      (i) Nothing in the Stipulation shall release, bar, waive, or

preclude any claim that has been or could be asserted directly or derivatively by

any member of the Settlement Class or the Plan in any state or federal securities

litigation involving the purchase or sale of any Beater Homes securities, including

In re Beazer Homes USA, Inc. Securities Litigation, Civil Action No . 1 :07-CV-

725-CC, or the right to recovery with respect to such claim, provided, however,

that this paragraph shall not be construed to permit any member of the Settlement

Class or the Plan to recover more than one hundred percent of his, her, or its

respective losses .

                      (ii) Except as otherwise set forth in the Stipulation, the

Releases are not intended to include the release of any rights or duties of the parties

arising out of the Stipulation, including the express warranties and covenants

contained therein .

                      (iii) Plaintiffs, members of the Settlement Class, and the Plan

(as authorized by the Independent Fiduciary) expressly waive and relinquish, to the



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fullest extent permitted by law, any and all provisions, rights, and benefits

conferred by (a) California Civil Code § 1542, which provides that

       a general release does not extend to claims which the creditor does not
       know or suspect to exist in his or her favor at the time of executing the
       release, which if known by him or her must have materially affected
       his or her settlement with the debtor,

and (b) any similar state, federal, or other law, rule or regulation, or principle of

common law of any domestic or foreign governmental entity . The Named

Plaintiffs, members of the Settlement Class, and the Plan may hereafter discover

facts other than or different from those that they know or believe to be true with

respect to the subject matter of the Released Claims with respect to any of the

Releasees, but the Named Plaintiffs, members of the Settlement Class, and the Plan

hereby expressly waive and fully, finally, and forever settle and release any known

or unknown, suspected or unsuspected, asserted or unasserted, contingent or non-

contingent claim with respect to the Released Claims, whether or not concealed or

hidden, without regard to the subsequent discovery or existence of such other or

different facts .

               8.   Award     of   Attorn eys' Fees and       Expenses a nd        Case

Contribution Awards : The Court hereby awards Class Counsel their attorneys'

fees of $1,512,500 (27 .5% of the gross Settlement amount) and litigation expenses

in the amount of $95,522 .93, which shall be paid from the Qualified Settlement


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Fund . The Court also awards each Named Plaintiff a Case Contribution Award in

the amount of $5,000 .00, which shall be paid from the Qualified Settlement Fund .

In making these awards, the Court finds that :

             (a) The Settlement achieved as a result of Class Counsel's efforts

has created a fund of $5,500,000, which will benefit thousands of members of the

Settlement Class .

             (b) Class Counsel have conducted the litigation and achieved the

Settlement with skill, perseverance, and diligent advocacy .

             (c) The action involves complex factual and legal issues litigated

over several years and, in the absence of a settlement, would involve further

lengthy proceedings with an uncertain resolution .

             (d)     Had Class Counsel not achieved the settlement, there would

remain a significant risk that the Named Plaintiffs and the Settlement Class may

have recovered less or nothing from Defendants .

             (e) The award of attorneys' fees and expenses is fair, reasonable,

and consistent with awards in similar cases .

             (f)     The Named Plaintiffs rendered valuable service to the Plan and

to the members of the Settlement Class .




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               9.     CAFA Compliance : D efendants have filed a D eclaration of

Compliance with the Class Action Fairness Act of 2005 ("CAFA"), indicating that,

pursuant to 28 U .S .C. § 1715(b), they timely mailed notice of the settlement to the

Attorney General of the United States of America and the Attorneys General of all

states in which members of the Settlement Class reside . The notice contained the

documents and information required by 28 U .S .C. § 1715{b} ( 1)-(8 ) . The Court

therefore finds that Defendants have complied in all respects with the requirements

of 28 U .S .C. § 1715 .

               10.    Retention of Juri sdiction : The Court shall retai n exclusive

jurisdiction over the Named Plaintiffs, the members of the Settlement Class, and

Defendants for all matters relating to this Action and the Settlement, including any

disputes or challenges that may arise as to the performance, validity, interpretation,

administration, effectuation, termination, or enforcement of the Stipulation and this

Order and Final Judgment . The Court shall also retain exclusive jurisdiction to

enter further orders regarding any applications for awards of attorneys' fees and

expenses incurred in connection with implementing and administering the Plan of

Allocation .

               11 .   Termination of Settleme nt : In the event that the Stipulation is

terminated in accordance with its terms, this Order and Final Judgment shall be



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rendered null and void, ab initio, and shall be vacated nunc pro tunc, and this

Action shall revert to its status as of the day immediately before the parties

engaged in the mediation that resulted in the Settlement . The parties shall be

afforded a reasonable opportunity to negotiate a new case management schedule .

             12 . Use of Order : This Order and Final Judgment is not admissible

as evidence for any purpose against Defendants in any pending or future litigation

involving any of the parties . This Order and Final Judgment shall not be construed

or used as an admission, concession, or declaration by or against Defendants of any

fault, wrongdoing, breach, or liability . This Order and Final Judgment shall not be

construed or used as an admission, concession, or declaration by or against the

Named Plaintiffs or the Settlement Class that their claims lack merit or that the

relief requested in the Action is inappropriate, improper, or unavailable .

      In the event that the Settlement is terminated, this Order and Final Judgment

shall not be construed or used as an admission, concession, declaration, or waiver

by any party of any arguments, defenses, or claims that he, she, or it may have,

including, but not limited to, any objections by Defendants to class certification .

Moreover, the Stipulation and any proceedings taken pursuant to the Stipulation

are for settlement purposes only . Neither the fact of, nor any provision contained

in the Stipulation or its exhibits, nor any actions taken thereunder shall be



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construed as, offered into evidence as, received in evidence as, and/or deemed to

be evidence of a presumption, concession, or admission of any kind as to the truth

of any fact alleged or validity of any claim or defense that has been, could have

been, or in the future might be asserted .


       SO ORDERED, this /,5Wday of November, 2010 .




                                         HON. RIC ARD W. STO
                                         UNITED STATES DIS CT JUDGE




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